                            Case 20-11177-KBO                       Doc 1         Filed 05/20/20             Page 1 of 30


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           District of Delaware
                                       (State)                                                                                    ☐ Check if this is an
Case number (if known):                                        Chapter   11                                                           amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20
     If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
     case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
     available.


1.   Debtor’s Name                               Akorn, Inc.


                                      Akorn Pharmaceuticals; Taylor Pharmaceuticals
2. All other names debtor used
   in the last 8 years




3. Debtor’s federal Employer
   Identification Number (EIN)        XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                          1925 West Field Court
                                          Number           Street                                     Number         Street

                                          Suite 300
                                                                                                      P.O. Box
                                          Lake Forest                     Illinois 60045
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Lake
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 www.akorn.com




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
                                Case 20-11177-KBO               Doc 1        Filed 05/20/20             Page 2 of 30
Debtor            Akorn, Inc.                                                       Case number (if known)
           Name



6.   Type of debtor                     ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                        ☐ Partnership (excluding LLP)

                                        ☐ Other. Specify:

                                            A. Check One:
7.   Describe debtor’s business
                                            ☒ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☐ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3254 (Pharmaceutical and Medicine Manufacturing)

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

      A debtor who is a “small              ☒ Chapter 11. Check all that apply:
      business debtor” must check
      the first sub-box. A debtor as                          ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
      defined in § 1182(1) who                                  insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
      elects to proceed under                                   4/01/22 and every 3 years after that).
      subchapter V of chapter 11
                                                              ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      (whether or not the debtor is a
      “small business debtor”) must                             liquidated debts (excluding debts owed to insiders or affiliates) are less than
      check the second sub-box.                                 $7,500,000 and it chooses to proceed under Subchapter V of Chapter 11. If this
                                                                sub-box is selected, attach the most recent balance sheet, statement of operations,
                                                                cash-flow statement, and federal income tax return or if any of these documents do not
                                                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              ☐ The debtor is a small business as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                              ☐ A plan is being filed with this petition.

                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                               Case 20-11177-KBO                     Doc 1       Filed 05/20/20          Page 3 of 30
Debtor           Akorn, Inc.                                                          Case number (if known)
          Name



9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.        District                            When                        Case number
   within the last 8 years?                                                                       MM/DD/YYYY
   If more than 2 cases, attach a                     District                            When                        Case number
   separate list.                                                                                 MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship     Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District                                                       When
                                                                   District of Delaware                                              05/20/2020
   List all cases. If more than 1,                                                                                                   MM / DD / YYYY
   attach a separate list.                         Case number, if known _______________________

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                        Number         Street



                                                                                        City                               State       Zip Code

                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.          Insurance agency

                                                                 Contact name
                                                                 Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                          ☒      1,000-5,000                    ☐    25,001-50,000
    creditors (on a                   ☐     50-99                         ☐      5,001-10,000                   ☐    50,001-100,000
    consolidated basis)               ☐     100-199                       ☐      10,001-25,000                  ☐    More than 100,000
                                      ☐     200-999


   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                               Case 20-11177-KBO                 Doc 1          Filed 05/20/20          Page 4 of 30
Debtor           Akorn, Inc.                                                       Case number (if known)
          Name



15. Estimated assets (on a           ☐     $0-$50,000                 ☐     $1,000,001-$10 million                   ☐    $500,000,001-$1 billion
    consolidated basis)              ☐     $50,001-$100,000           ☐     $10,000,001-$50 million                  ☒    $1,000,000,001-$10 billion
                                     ☐     $100,001-$500,000          ☐     $50,000,001-$100 million                 ☐    $10,000,000,001-$50 billion
                                     ☐     $500,001-$1 million        ☐     $100,000,001-$500 million                ☐    More than $50 billion

16. Estimated liabilities (on        ☐     $0-$50,000                  ☐    $1,000,001-$10 million                   ☐    $500,000,001-$1 billion
    a consolidated basis)            ☐     $50,001-$100,000            ☐    $10,000,001-$50 million                  ☒    $1,000,000,001-$10 billion
                                     ☐     $100,001-$500,000           ☐    $50,000,001-$100 million                 ☐    $10,000,000,001-$50 billion
                                     ☐     $500,001-$1 million         ☐    $100,000,001-$500 million                ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of       petition.
    debtor
                                       I have been authorized to file this petition on behalf of the debtor.
                                       I have examined the information in this petition and have a reasonable belief that the information is true and
                                       correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                       Executed on            05/20/2020
                                                            MM/ DD / YYYY


                                            /s/ Joseph Bonaccorsi                                          Joseph Bonaccorsi
                                            Signature of authorized representative of debtor                Printed name

                                            Title    Authorized Signatory




18. Signature of attorney                   /s/ Paul N. Heath                                                Date         05/20/2020
                                            Signature of attorney for debtor                                             MM/ DD/YYYY



                                            Paul N. Heath

                                            Richards, Layton & Finger, PA
                                            Firm name
                                            920 N. King Street
                                            Number                     Street
                                            Wilmington                                                          Delaware                19801-
                                            City                                                                 State                  ZIP Code
                                            (302) 651-7700                                                       heath@rlf.com
                                            Contact phone                                                            Email address
                                            DE 3704                                              Delaware
                                            Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 4
                     Case 20-11177-KBO               Doc 1        Filed 05/20/20           Page 5 of 30




Official Form 201A (12/15)

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                          )
    In re:                                                                ) Chapter 11
                                                                          )
    AKORN, INC., et al.,1                                                 ) Case No. 20-[____] (___)
                                                                          )
                                        Debtors.                          ) (Joint Administration Requested)
                                                                          )

                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                    Bankruptcy under Chapter 11

   1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange
Act of 1934, the SEC file number is 0-21196

   2. The following financial data is the latest available information and refers to the debtor’s
condition on March 31, 2020.

      a. Total assets                                                                    $1,032,275,000

      b. Total debts (including debts listed in 2.c., below)                             $1,051,769,000

      c. Debt securities held by more than 500 holders

                                                                                                              Approximate
                                                                                                              number of
                                                                                                              holders:
secured      ☐   unsecured    ☐    subordinated       ☐   $ ______________________                            ____________
secured      ☐   unsecured    ☐    subordinated       ☐   $ ______________________                            ____________
secured      ☐   unsecured    ☐    subordinated       ☐   $ ______________________                            ____________
secured      ☐   unsecured    ☐    subordinated       ☐   $ ______________________                            ____________
secured      ☐   unsecured    ☐    subordinated       ☐   $ ______________________                            ____________

      d. Number of shares of preferred stock
1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, if any, are: Akorn, Inc. (7400); 10 Edison Street LLC (7890); 13 Edison Street LLC; Advanced Vision
      Research, Inc. (9046); Akorn (New Jersey), Inc. (1474); Akorn Animal Health, Inc. (6645); Akorn Ophthalmics,
      Inc. (6266); Akorn Sales, Inc. (7866); Clover Pharmaceuticals Corp. (3735); Covenant Pharma, Inc. (0115); Hi-
      Tech Pharmacal Co., Inc. (8720); Inspire Pharmaceuticals, Inc. (9022); Oak Pharmaceuticals, Inc. (6647); Olta
      Pharmaceuticals Corp. (3621); VersaPharm Incorporated (6739); VPI Holdings Corp. (6716); and VPI Holdings
      Sub, LLC. The location of the Debtors’ service address is: 1925 W. Field Court, Suite 300, Lake Forest, Illinois
      60045.



Official Form 201A      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11   page 5
                     Case 20-11177-KBO               Doc 1        Filed 05/20/20           Page 6 of 30




     e. Number of shares common stock                                                    133,404,613

Comments, if any: ____________________________________________________________
___________________________________________________________________________
___________________________________________________________________________

         3. Brief description of debtor’s business: The Debtors are a specialty pharmaceutical
      company that develops, manufactures, and markets generic and branded prescription
      pharmaceuticals, branded as well as private-label over-the-counter consumer health
      products, and animal health pharmaceuticals.
___________________________________________________________________________

            4. List the names of any person who directly or indirectly owns, controls, or holds,
         with power to vote, 5% or more of the voting securities of debtor:

                                                                                                            Percentage of
             Equity Holders                                Address of Equity Holder
                                                                                                             Equity Held2
    BLACKROCK, INC.                             [REDACTED]                                                          12.50%3
    THE VANGUARD GROUP                          [REDACTED]                                                           7.80%4
    AKORN HOLDINGS LP                           [REDACTED]                                                            6.10%
    STONEHILL CAPITAL                           [REDACTED]
                                                                                                                      5.10%5
    MANAGEMENT LLC




2    All amounts reflected herein represent percentage of common stock held. Akorn, Inc. does not currently have
     any other classes of stock outstanding.

3    Percentage ownership calculated in accordance with Rule 13d-3(d)(1) under the Securities Exchange Act of
     1934, as amended.

4    Percentage ownership calculated in accordance with Rule 13d-3(d)(1) under the Securities Exchange Act of
     1934, as amended.

5    Percentage ownership calculated in accordance with Rule 13d-3(d)(1) under the Securities Exchange Act of
     1934, as amended.




Official Form 201A      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11     page 6
                           Case 20-11177-KBO              Doc 1       Filed 05/20/20   Page 7 of 30


    Fill in this information to identify the case:


    United States Bankruptcy Court for the:
                           District of Delaware
                                             (State)                                                  ☐ Check if this is an
    Case number (if                                                                                       amended filing
    known):                                            Chapter   11


                                            Rider 1
             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to this chapter 11 case of Debtor Akorn, Inc.

Akorn, Inc.
10 Edison Street LLC
13 Edison Street LLC
Advanced Vision Research, Inc.
Akorn (New Jersey), Inc.
Akorn Animal Health, Inc.
Akorn Ophthalmics, Inc.
Akorn Sales, Inc.
Clover Pharmaceuticals Corp.
Covenant Pharma, Inc.
Hi-Tech Pharmacal Co., Inc.
Inspire Pharmaceuticals, Inc.
Oak Pharmaceuticals, Inc.
Olta Pharmaceuticals Corp.
VersaPharm Incorporated
VPI Holdings Corp.
VPI Holdings Sub, LLC
                                         Case 20-11177-KBO                       Doc 1          Filed 05/20/20              Page 8 of 30



        Fill in this information to identify the case:

        Debtor Name:          Akorn, Inc.

        United States Bankruptcy Court for the District of Delaware                                                                     Check if this is an amended filing

        Case number (if known): __________________________
Fill in this information to identify the case:


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not InsidersA                                                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
    include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
    among the holders of the 30 largest unsecured claims.

     Name of creditor and                    Name, telephone number                    Nature of               Indicate if        Amount of claim
     complete mailing address,               and email address of                      claim                    claim is          If the claim is fully unsecured, fill in only
                                                                                       (for example,                              unsecured claim amount. If claim is
     including zip code                      creditor contact                                                 contingent,
                                                                                       trade debts,          unliquidated,        partially secured, fill in total claim amount
                                                                                       bank loans,                                and deduction for value of collateral or
                                                                                                              or disputed
                                                                                       professional                               setoff to calculate unsecured claim.
                                                                                       services, and
                                                                                       government                                 Total            Deduction           Unsecured
                                                                                                                                  claim, if        for value of        claim
                                                                                       contracts)
                                                                                                                                  partially        collateral or
                                                                                                                                  secured          setoff


                                            ATTN: JOHN PULIDO JOHNSON
    MCKESSON CORPORATION                    P: 972.830.3631
1   6535 N. STATE HIGHWAY 161               EMAIL:                                    CUSTOMER                                                                              $ 14,497,590
    IRVING, TX 75039                        JOHN.JOHNSON3@MCKESSON.COM




    DOUGLAS PHARMACEUTICALS
    AMERICA LIMITED                         ATTN: KENT DURBIN
    1 CENTRAL PARK DRIVE                    P: 64-9-914-0669
2                                                                                     TRADE VENDOR                                                                          $ 8,445,563
    LINCOLN                                 F: 64-9-835-0665
    AUCKLAND, 0610                          EMAIL: KENTD@DOUGLAS.CO.NZ
    NZ



                                            ATTN: HEATHER ODENWELDER
    AMERISOURCEBERGEN GLOBAL                P: 610-727-2472
    SERVICES                                F: 800-640-5221
3                                                                        CUSTOMER                                                                                           $ 4,889,970
    1300 MORRIS DRIVE                       EMAIL:
    CHESTERBROOK, PA 19087                  HODENWELDER@AMERISOURCEBERGE
                                            N.COM




A
   On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims
listed below. Moreover, nothing herein shall affect any Debtor’s right to challenge the amount or characterization of any claim at a later date.




Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
                                    Case 20-11177-KBO                Doc 1     Filed 05/20/20         Page 9 of 30
Debtor Akorn, Inc.                              Case number (if known) ____________
               Name

    Name of creditor and               Name, telephone number           Nature of           Indicate if    Amount of claim
    complete mailing address,          and email address of             claim                claim is      If the claim is fully unsecured, fill in only
                                                                        (for example,                      unsecured claim amount. If claim is
    including zip code                 creditor contact                                    contingent,
                                                                        trade debts,                       partially secured, fill in total claim amount
                                                                                          unliquidated,
                                                                        bank loans,        or disputed     and deduction for value of collateral or
                                                                        professional                       setoff to calculate unsecured claim.
                                                                        services, and
                                                                                                           Total            Deduction           Unsecured
                                                                        government
                                                                        contracts)                         claim, if        for value of        claim
                                                                                                           partially        collateral or
                                                                                                           secured          setoff


                                       ATTN: KELLI JONES
    CARDINAL HEALTH
                                       P: (614) 757-9578
4   7000 CARDINAL PLACE                                               CUSTOMER                                                                $ 3,311,195
                                       EMAIL:
    DUBLIN, OH 43017
                                       KELLI.JONES@CARDINALHEALTH.COM




    OPTUMRX INC                        ATTN: KENT ROGERS
5   2858 LOKER AVE E STE 100           P: 949-988-6066                  CUSTOMER                                                              $ 2,573,674
    CARLSBAD, CA 92010                 EMAIL: KENT.ROGERS@OPTUM.COM




    CVS HEALTH CORPORATION             ATTN: SCOTT GRIFFIN
    ATTN MC 1110                       P: (401) 770-4353
6                                                                       CUSTOMER                                                              $ 2,110,798
    ONE CVS DRIVE                      EMAIL:
    WOONSOCKET, RI 02895               SCOTT.GRIFFIN@CVSHEALTH.COM




    LABORATOIRE UNITHER
                                       ATTN: ERIC GOUPIL
    GROUPE UNITHER ESPACE
                                       P: +33144635170
    INDUSTRIEL NORD
7                                      F: 011-33-144635179              TRADE VENDOR                                                          $ 1,780,422
    151 RUE ANDRE DUROUCHEZ
                                       EMAIL: ERIC.GOUPIL@UNITHER-
    AMIENS, 80 80080
                                       PHARMA.COM
    FRANCE




    CATALENT PHARMA SOLUTIONS          ATTN: BILL HARTZEL
8   14 SCHOOLHOUSE ROAD                P: (717)-542- 4922               TRADE VENDOR                                                          $ 1,707,214
    SOMERSET, NJ 08873                 EMAIL: BILL.HARTZEL@CATALENT.COM




    AMRI RENSSELAER INC                ATTN: STEVE LICHTER
    ORGANICHEM CORP 21 CORPORATE       P: 872-241-5203
9                                                                       TRADE VENDOR                                                          $ 1,473,887
    CIRCLE                             EMAIL:
    ALBANY, NY 12203                   STEVE.LICHTER@AMRIGLOBAL.COM




                                     ATTN: CHRIS LITTLE
   HEALTH TRUST PURCHASING GROUP
                                     P: 314.364.6595; 615-344-3000
   1100 DR MARTIN L KING JR BLVD STE
10                                   EMAIL:                         CUSTOMER                                                                  $ 1,397,519
   1100
                                     THOMAS.LITTLE@HEALTHTRUSTPG.CO
   NASHVILLE, TN 37203
                                     M; HPGSVC@HEALTHTRUSTPG.COM;




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
                                   Case 20-11177-KBO              Doc 1       Filed 05/20/20        Page 10 of 30
Debtor Akorn, Inc.                             Case number (if known) ____________
               Name

    Name of creditor and              Name, telephone number           Nature of           Indicate if    Amount of claim
    complete mailing address,         and email address of             claim                claim is      If the claim is fully unsecured, fill in only
                                                                       (for example,                      unsecured claim amount. If claim is
    including zip code                creditor contact                                    contingent,
                                                                       trade debts,                       partially secured, fill in total claim amount
                                                                                         unliquidated,
                                                                       bank loans,        or disputed     and deduction for value of collateral or
                                                                       professional                       setoff to calculate unsecured claim.
                                                                       services, and
                                                                                                          Total            Deduction           Unsecured
                                                                       government
                                                                       contracts)                         claim, if        for value of        claim
                                                                                                          partially        collateral or
                                                                                                          secured          setoff

   SANTEN PHARMACEUTICAL CO LTD
   4-20, OFUKACHO,                ATTN: KEN ARAKI
   KTA-KU GRAND FRONT OSAKA TOWER P: 81-6-4802-9652
11                                                                     ROYALTY                                                               $ 1,321,096
   A                              F: 81-6-6321-5082
   OSAKA, JP 530-8552             EMAIL: KEN.ARAKI@SANTEN.COM
   JAPAN



                                   ATTN: GLORIA SUMLER
   VIZIENT INC                     P: (972) 581-5244; 972-581-5089; 972-
12 290 EAST JOHN CARPENTER FREEWAY 581-5000                              CUSTOMER                                                             $ 974,014
   IRVING, TX 75062                EMAIL:
                                   GLORIA.SUMLER@VIZIENTINC.COM




   WALMART                            ATTN: DICK DERKS
13 702 SOUTHWEST 8TH ST               P: (479) 204-9441                CUSTOMER                                                               $ 754,349
   BENTONVILLE, AR 72716              EMAIL: DDERKS@WALMART.COM




                                    ATTN: MAXINE FRITZ
   NSF HEALTH SCIENCES LLC          P: 202-822-1850
14 2001 PENNSYLVANIA AVENUE STE 950 F: 734-769-0109                    CONSULTANT                                                             $ 714,288
   WASHINGTON, DC 20006             EMAIL: MFRITZ@NSF.ORG;
                                    NSFBILLING@NSF.ORG




                                   ATTN: SARAH O LARSON
   CLARUSONE SOURCING SERVICES LLP
                                   P: +011 (44) 7712 681 824
   6 ST ANDREW STREET
15                                 EMAIL:                        CUSTOMER                                                                     $ 703,895
   LONDON, EC4A 3AE
                                   SARAH.LARSON@CLARUSONESOURCIN
   UNITED KINGDOM
                                   G.COM




                                    ATTN: MICHAEL MINARICH
   LEADIANT BIOSCIENCES INC
                                    P: 815-603-9037
   800 SOUTH FREDERICK AVENUE SUITE
16                                  F: 301- 948-1862              TRADE VENDOR                                                                $ 559,987
   300
                                    EMAIL:
   GAITHERSBURG, MD 20877
                                    MICHAEL.MINARICH@LEADIANT.COM




                                      ATTN: ISABELLE LAFOSSE
   THERMO FISHER SCIENTIFIC           P: (513) 375-2174
17 168 THIRD AVENUE                   EMAIL:                          TRADE VENDOR                                                            $ 517,421
   WALTHAM, MA USA 02451              ISABELLE.LAFOSSE@THERMOFISHER.C
                                      OM




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
                                  Case 20-11177-KBO               Doc 1     Filed 05/20/20         Page 11 of 30
Debtor     Akorn, Inc.                        Case number (if known) ____________
               Name

    Name of creditor and             Name, telephone number           Nature of           Indicate if    Amount of claim
    complete mailing address,        and email address of             claim                claim is      If the claim is fully unsecured, fill in only
                                                                      (for example,                      unsecured claim amount. If claim is
    including zip code               creditor contact                                    contingent,
                                                                      trade debts,                       partially secured, fill in total claim amount
                                                                                        unliquidated,
                                                                      bank loans,        or disputed     and deduction for value of collateral or
                                                                      professional                       setoff to calculate unsecured claim.
                                                                      services, and
                                                                                                         Total            Deduction           Unsecured
                                                                      government
                                                                      contracts)                         claim, if        for value of        claim
                                                                                                         partially        collateral or
                                                                                                         secured          setoff


                                     ATTN: ZACHARY MIKULAK
   WALGREENS
                                     P: 847-964-4058
18 108 WILMOT RD                                                   CUSTOMER                                                                  $ 510,449
                                     EMAIL:
   DEERFIELD, IL 60015
                                     ZACHARY.MIKULAK@WALGREENS.COM




   DEPARTMENT OF VETERANS AFFAIRS    ATTN: ERIK BOEHMKE
   P.O. BOX 76, 1ST AVENUE,          P: 708.786.5803
19                                                                    CUSTOMER                                                               $ 453,855
   ONE BLOCK NORTH OF 22ND STREET,   F: 708.786.5828
   HINES, IL 60141                   EMAIL: ERIK.BOEHMKE@VA.GOV




   TARGET CORPORATION                ATTN: BECKY FAIT
20 1000 NICOLLET MALL                P: (612) 696-6340                CUSTOMER                                                               $ 440,755
   MINNEAPOLIS, MN 55403             EMAIL: BECKY.FAIT@TARGET.COM




                                     ATTENTION: KYLE TEMPLETON;
   AMAZON.COM SERVICES INC           GABRIELLE LEWNES
21 410 TERRY AVE N                   P: (206) 266-1000                CUSTOMER                                                               $ 420,307
   SEATTLE, WA 98109                 EMAIL: KYLTEMPL@AMAZON.COM;
                                     ABBOUDG@AMAZON.COM


                                     ATTN: JASON PARRISH; LYNN
                                     FERNANDEZ
   EXPRESS SCRIPTS INC               P: (314) 684-6211
22 ONE EXPRESS WAY                   EMAIL: JMPARRISH@EXPRESS-        CUSTOMER                                                               $ 409,978
   ST LOUIS, MO 63121                SCRIPTS.COM;
                                     LYNN.FERNANDEZ@ECONDISC.NET



                                     ATTN: PAUL DICKSON
                                     P: 318-797-7900
   MORRIS & DICKSON CO LTD
                                     F: 318-798-5237
23 10301 HIGHWAY 1 SOUTH                                              CUSTOMER                                                               $ 396,894
                                     EMAIL:
   SHREVEPORT, LA 71115
                                     PMDJR@MORRISDICKSON.COM;
                                     INFO@MORRISDICKSON.COM




   HUMANA PHARMACY SOLUTIONS         ATTN: MIKE VEZZA
24 500 WEST MAIN STREET 7TH FLOOR    P: (502) 301-3434                CUSTOMER                                                               $ 354,593
   LOUISVILLE, KY 40202              EMAIL: MVEZZA@HUMANA.COM




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
                                   Case 20-11177-KBO                  Doc 1        Filed 05/20/20     Page 12 of 30
Debtor Akorn, Inc.                              Case number (if known) ____________
               Name

    Name of creditor and              Name, telephone number                Nature of         Indicate if   Amount of claim
    complete mailing address,         and email address of                  claim              claim is     If the claim is fully unsecured, fill in only
                                                                            (for example,                   unsecured claim amount. If claim is
    including zip code                creditor contact                                       contingent,
                                                                            trade debts,                    partially secured, fill in total claim amount
                                                                                            unliquidated,
                                                                            bank loans,      or disputed    and deduction for value of collateral or
                                                                            professional                    setoff to calculate unsecured claim.
                                                                            services, and
                                                                                                            Total            Deduction           Unsecured
                                                                            government
                                                                            contracts)                      claim, if        for value of        claim
                                                                                                            partially        collateral or
                                                                                                            secured          setoff

                                      ATTN: MATT ADAMS
                                      P: 952-334-8366; 952-937-0901; 505-
   OPTISOURCE LLC
                                      792-0277
25 7500 FLYING CLOUD DR                                                     CUSTOMER                                                            $ 333,327
                                      F: 505-792-0281
   EDEN PRAIRIE, MN 55344
                                      EMAIL:
                                      OPTISOURCE.MATT@GMAIL.COM




   EAGLE PHARMACY LLC                 ATTN: STACY HUSS
26 350 EAGLES LANDING DRIVE           P: 303-725-1700                       TRADE VENDOR                                                        $ 327,646
   LAKELAND, FL 33810                 EMAIL: SHUSS@EAGLESFP.COM




                                      ATTN: ANDREW BERLIN
                                      P: 312-876-9292; 800-723-7546; 312-
   BERLIN PACKAGING LLC               965-9000
27 525 WEST MONROE, 14TH FLOOR        F: 312-876-9290                     TRADE VENDOR                                                          $ 325,832
   CHICAGO, IL 60661                  EMAIL:
                                      ANDREW.BERLIN@BERLINPACKAGING.
                                      COM



                                      ATTN: MARCY ENNEKING
   GDL INTERNATIONAL
                                      P: 816-364-3520; 913- 49-6570
28 3715 BECK RD                                                             TRADE VENDOR                                                        $ 306,000
                                      EMAIL:
   ST JOSEPH, MO 64506
                                      MARCY@GDLINTERNATIONAL.COM




                                      ATTN: BRIAN SCANLAN
   PD SUB LLC
                                      P: 314.281.8017
29 2629 S HANLEY RD                                                 TRADE VENDOR                                                                $ 252,644
                                      EMAIL:
   SAINT LOUIS, MO 63144
                                      BSCANLAN@PARTICLEDYNAMICS.COM




                                      ATTN: JACK C. SILHAVY
   FRESENIUS KABI USA, LLC            P: 847-550-2760                                        CONTINGENT
30 THREE CORPORATE DRIVE              F: 847-550-2920                       LITIGATION      UNLIQUIDATED
   LAKE ZURICH, IL 60047              EMAIL: JACK.SILHAVY@FRESENIUS-                          DISPUTED
                                      KABI.COM




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims
                    Case 20-11177-KBO                  Doc 1       Filed 05/20/20           Page 13 of 30




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re:                                                         )     Chapter 11
                                                                   )
    AKORN, INC.,                                                   )     Case No. 20-______ (___)
                                                                   )
                                 Debtor.                           )
                                                                   )

                                   LIST OF EQUITY SECURITY HOLDERS1

             Debtor                             Equity Holders                         Address of             Percentage of
                                                                                      Equity Holder           Equity Held
    AKORN, INC.                    CEDE & CO                                          [REDACTED]                         89.13%
    AKORN, INC.                    AKORN HOLDINGS LP                                  [REDACTED]                          6.10%
    AKORN, INC.                    EJ FUNDS LP                                        [REDACTED]                          2.69%
                                   JOHN N KAPOOR TR JOHN N
    AKORN, INC.                    KAPOOR TRUST DTD 09 20 89                          [REDACTED]                           1.30%
                                   JOHN AND EDITHA KAPOOR
    AKORN, INC.                    CHARITABLE FOUNDATION                              [REDACTED]                        < 1.00%
    AKORN, INC.                    JOHN N KAPOOR                                      [REDACTED]                        < 1.00%
    AKORN, INC.                    EDITHA HOUSE FOUNDATION                            [REDACTED]                        < 1.00%
    AKORN, INC.                    NELIDA OQUENDO                                     [REDACTED]                        < 1.00%
    AKORN, INC.                    QUENTIN D FALGOUT MD                               [REDACTED]                        < 1.00%
    AKORN, INC.                    LINDA STONE ROCK                                   [REDACTED]                        < 1.00%
                                   BETTY J FAUST TR BETTY J FAUST
    AKORN, INC.                    MANAGEMENT TRUST                                   [REDACTED]                        < 1.00%
    AKORN, INC.                    TANG NHAT NGUYEN                                   [REDACTED]                        < 1.00%
    AKORN, INC.                    R P LEHMANN MD                                     [REDACTED]                        < 1.00%
    AKORN, INC.                    KEN GENE KAMBARA                                   [REDACTED]                        < 1.00%
    AKORN, INC.                    SUSAN BETH HENRY                                   [REDACTED]                        < 1.00%
    AKORN, INC.                    RUDI TEIFKE                                        [REDACTED]                        < 1.00%
    AKORN, INC.                    CHARLES BARNES                                     [REDACTED]                        < 1.00%
    AKORN, INC.                    B J WOODS                                          [REDACTED]                        < 1.00%
    AKORN, INC.                    A B CROSS MD                                       [REDACTED]                        < 1.00%
    AKORN, INC.                    WILLIAM SONNIER                                    [REDACTED]                        < 1.00%
    AKORN, INC.                    ROLAND SYLVESTER                                   [REDACTED]                        < 1.00%
    AKORN, INC.                    LORENTZ ENTERPRISES                                [REDACTED]                        < 1.00%
    AKORN, INC.                    BARRY S BORDENAVE MD                               [REDACTED]                        < 1.00%
    AKORN, INC.                    NORMAN MEDOW                                       [REDACTED]                        < 1.00%
    AKORN, INC.                    RODOIFO PEREZ JR                                   [REDACTED]                        < 1.00%
    AKORN, INC.                    VISUAL OPTICS                                      [REDACTED]                        < 1.00%
                                   ARJUN C WANEY & JUDITH D
                                   WANEY TR UA 12/07/1979 WANEY
    AKORN, INC.                    REVOCABLE TRUST                                    [REDACTED]                        < 1.00%
    AKORN, INC.                    JOHN MONTGOMERY                                    [REDACTED]                        < 1.00%

1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
       Procedure.
              Case 20-11177-KBO   Doc 1   Filed 05/20/20   Page 14 of 30




      Debtor                 Equity Holders            Address of     Percentage of
                                                      Equity Holder   Equity Held
AKORN, INC.           CHARLES G ANGE MD               [REDACTED]            < 1.00%
AKORN, INC.           MARK M SILVERBERG               [REDACTED]            < 1.00%
AKORN, INC.           SUSAN TALADA                    [REDACTED]            < 1.00%
AKORN, INC.           CHARLES MILLER                  [REDACTED]            < 1.00%
AKORN, INC.           CARLA HERTEL                    [REDACTED]            < 1.00%
AKORN, INC.           T RAMSEY THORP MD PROF/SHR PL   [REDACTED]            < 1.00%
AKORN, INC.           DANIEL J HENNESY MD             [REDACTED]            < 1.00%
                      SANFORD GREENBERG TR
                      SANFORD GREENBERG TRUST UWO
AKORN, INC.           MORRIS A GREENBERG DECD         [REDACTED]            < 1.00%
AKORN, INC.           CRAIG C KUGLEN JR               [REDACTED]            < 1.00%
AKORN, INC.           ELOISE DONAHOE                  [REDACTED]            < 1.00%
AKORN, INC.           JOHN A TURNER                   [REDACTED]            < 1.00%
AKORN, INC.           RAYMOND SLY                     [REDACTED]            < 1.00%
AKORN, INC.           MARIA FONSECA                   [REDACTED]            < 1.00%
AKORN, INC.           ALAN BARIBEAU                   [REDACTED]            < 1.00%
                      CARL SHIBATA INC DEFINED
AKORN, INC.           BENEFIT PENSION PLAN            [REDACTED]            < 1.00%
AKORN, INC.           GOPAL ANYARAMBHATLA             [REDACTED]            < 1.00%
AKORN, INC.           ARTHUR W SHERMAN                [REDACTED]            < 1.00%
AKORN, INC.           SUSAN E YEISLEY                 [REDACTED]            < 1.00%
AKORN, INC.           ELLIOT FINKELSTEIN              [REDACTED]            < 1.00%
AKORN, INC.           BRADLEY DECICCO                 [REDACTED]            < 1.00%
AKORN, INC.           FRANK A RYMER JR                [REDACTED]            < 1.00%
AKORN, INC.           LARRY D THOMPSON                [REDACTED]            < 1.00%
AKORN, INC.           MRS ALTON PERRY                 [REDACTED]            < 1.00%
AKORN, INC.           JOHN S EMERSON                  [REDACTED]            < 1.00%
AKORN, INC.           RONALD C WYCHE                  [REDACTED]            < 1.00%
AKORN, INC.           LARRY P ALEXANDER               [REDACTED]            < 1.00%
                      ADITAYA CHELLARAM STANDARD
AKORN, INC.           CARPETS IND LLC                 [REDACTED]            < 1.00%
AKORN, INC.           STEPHEN OQUENDO                 [REDACTED]            < 1.00%
AKORN, INC.           ANNE MARIE T MANNONE            [REDACTED]            < 1.00%
                      ANDREW F DILL EX EST FRANKLIN
AKORN, INC.           G DILL                          [REDACTED]            < 1.00%
AKORN, INC.           TRACEY BARNETT                  [REDACTED]            < 1.00%
AKORN, INC.           KIMBERLY D PAYTON               [REDACTED]            < 1.00%
AKORN, INC.           CHERYL WINTERS-HEARD            [REDACTED]            < 1.00%
AKORN, INC.           SAMUEL R KLINGER                [REDACTED]            < 1.00%
AKORN, INC.           MARY KLINGER                    [REDACTED]            < 1.00%
AKORN, INC.           DEBORAH SANDELES                [REDACTED]            < 1.00%
AKORN, INC.           KEVIN MIKOS                     [REDACTED]            < 1.00%
AKORN, INC.           JOSEPH FISHELSON                [REDACTED]            < 1.00%
AKORN, INC.           TADEUSZ WISNIEWSKI              [REDACTED]            < 1.00%
AKORN, INC.           PENNY K BUTTON                  [REDACTED]            < 1.00%
AKORN, INC.           MARTA SIVITZ                    [REDACTED]            < 1.00%
AKORN, INC.           CLEMENS BRAND AGENCY            [REDACTED]            < 1.00%
AKORN, INC.           GEORGETTE FRANK                 [REDACTED]            < 1.00%
AKORN, INC.           THERESA BAKER                   [REDACTED]            < 1.00%
AKORN, INC.           STEPHANIE JARRELL               [REDACTED]            < 1.00%
AKORN, INC.           RONICA SCHRISHUHN               [REDACTED]            < 1.00%
              Case 20-11177-KBO   Doc 1    Filed 05/20/20   Page 15 of 30




      Debtor                  Equity Holders            Address of     Percentage of
                                                       Equity Holder   Equity Held
AKORN, INC.           EDWIN F BLUM                     [REDACTED]            < 1.00%
AKORN, INC.           ARTHUR W SCHULTZ                 [REDACTED]            < 1.00%
                      EMORY V HAMBY & LOUISE S
AKORN, INC.           HAMBY JT TEN                     [REDACTED]            < 1.00%
AKORN, INC.           CRAIG B COX                      [REDACTED]            < 1.00%
AKORN, INC.           HORACE J BALTZ                   [REDACTED]            < 1.00%
AKORN, INC.           MCCLELLAN WALTHER                [REDACTED]            < 1.00%
                      ELSIE RITA BALTZ WRIGHT
                      USUFRUCT MICHAEL R WRIGHT &
                      PATRICIA W WRIGHT & STELLA M
AKORN, INC.           WRIGHT NAKED OWNERS              [REDACTED]            < 1.00%
AKORN, INC.           JOSEPH A YAZBECK                 [REDACTED]            < 1.00%
AKORN, INC.           JAMES H ELLIOTT                  [REDACTED]            < 1.00%
AKORN, INC.           CHRISTOPHER F BARNES             [REDACTED]            < 1.00%
AKORN, INC.           JAMES O LADUKE                   [REDACTED]            < 1.00%
AKORN, INC.           JAMES JOHNSTON                   [REDACTED]            < 1.00%
AKORN, INC.           KRISTEN J LANDIS                 [REDACTED]            < 1.00%
AKORN, INC.           BEVERLY V MICHAELIS              [REDACTED]            < 1.00%
AKORN, INC.           AMY L PEARSON                    [REDACTED]            < 1.00%
                      PERRY DIGIROLAMO & JULIE
AKORN, INC.           DIGIROLAMO JT TEN                [REDACTED]            < 1.00%
AKORN, INC.           DEBRA L DALE                     [REDACTED]            < 1.00%
AKORN, INC.           DAVID SMITH                      [REDACTED]            < 1.00%
AKORN, INC.           DEBRA L CASSISA                  [REDACTED]            < 1.00%
AKORN, INC.           TRACEY BARNETT                   [REDACTED]            < 1.00%
AKORN, INC.           MARIA IVAN                       [REDACTED]            < 1.00%
AKORN, INC.           JULIE OSTROW                     [REDACTED]            < 1.00%
AKORN, INC.           BRIAN KUNZ                       [REDACTED]            < 1.00%
AKORN, INC.           MARGARET N BLAUM                 [REDACTED]            < 1.00%
                      JEROME E LISS TR J E LISS &
                      COMPANY INC 401 K 01/01/97 FBO
AKORN, INC.           JOEL BLUMENSCHEIN                [REDACTED]            < 1.00%
AKORN, INC.           PENNY L CHABRECK                 [REDACTED]            < 1.00%
                      DANIEL W WALLER EX EST ANNA
AKORN, INC.           WALLER                           [REDACTED]            < 1.00%
                      GERALD F YANKE & LORA LEE
AKORN, INC.           YANKE JT TEN                     [REDACTED]            < 1.00%
AKORN, INC.           ANDREW LEE CANNIZARO             [REDACTED]            < 1.00%
AKORN, INC.           WILLIAM HOGUE                    [REDACTED]            < 1.00%
AKORN, INC.           BRENDA H MCLAURIN                [REDACTED]            < 1.00%
AKORN, INC.           ROSEMARY F PALLADINO             [REDACTED]            < 1.00%
AKORN, INC.           SUSAN E TALADA                   [REDACTED]            < 1.00%
AKORN, INC.           ALBERT A RIEDERER                [REDACTED]            < 1.00%
AKORN, INC.           KAREN MONSON                     [REDACTED]            < 1.00%
AKORN, INC.           MICHAEL DUBSON                   [REDACTED]            < 1.00%
AKORN, INC.           KIM J TAPAJ                      [REDACTED]            < 1.00%
AKORN, INC.           LESLIE H MAREADY                 [REDACTED]            < 1.00%
AKORN, INC.           JUNE C GARRETT                   [REDACTED]            < 1.00%
AKORN, INC.           JAMES W COOK MD                  [REDACTED]            < 1.00%
AKORN, INC.           WILLIAM L COBB MD                [REDACTED]            < 1.00%
                      ROBERTO BRUNO HERRERA &
AKORN, INC.           ADOLFO P HERRERA TEN COM         [REDACTED]            < 1.00%
              Case 20-11177-KBO   Doc 1   Filed 05/20/20   Page 16 of 30




      Debtor                  Equity Holders            Address of     Percentage of
                                                       Equity Holder   Equity Held
AKORN, INC.           JOE MILLER                       [REDACTED]            < 1.00%
AKORN, INC.           MALINE M LEVY                    [REDACTED]            < 1.00%
AKORN, INC.           THEODORE P DIAZ                  [REDACTED]            < 1.00%
AKORN, INC.           RICHARD REDDEMAN                 [REDACTED]            < 1.00%
AKORN, INC.           LARRY MARGULES                   [REDACTED]            < 1.00%
AKORN, INC.           ETHAN JOSEPH CULLINAN            [REDACTED]            < 1.00%
AKORN, INC.           PATRICK J BASLER                 [REDACTED]            < 1.00%
AKORN, INC.           GWENDOLYN HINES                  [REDACTED]            < 1.00%
AKORN, INC.           RANDY L MITCHELL                 [REDACTED]            < 1.00%
AKORN, INC.           JEFF L BROOKS JR                 [REDACTED]            < 1.00%
AKORN, INC.           ROBERT M LAWRENCE                [REDACTED]            < 1.00%
AKORN, INC.           LESSIA FASSHAUER                 [REDACTED]            < 1.00%
                      BERNADETTE E PORCHE & ALBERT
AKORN, INC.           J PORCHE COMMUNITY PROPERTY      [REDACTED]            < 1.00%
                      DANIEL W WALLER EX EST ANNA
AKORN, INC.           WALLER                           [REDACTED]            < 1.00%
AKORN, INC.           SCOTT GROSSENBACH                [REDACTED]            < 1.00%
AKORN, INC.           RAMONA R TARGOS                  [REDACTED]            < 1.00%
AKORN, INC.           FRANCES CARBONE ROCHELLE         [REDACTED]            < 1.00%
AKORN, INC.           DANA L WILLIAMS                  [REDACTED]            < 1.00%
AKORN, INC.           SHARON MACDONALD                 [REDACTED]            < 1.00%
                      RUSSELL AMANNS & TRACY
AKORN, INC.           AMANNS JT TEN                    [REDACTED]            < 1.00%
AKORN, INC.           LYNN G EASON                     [REDACTED]            < 1.00%
AKORN, INC.           BRENDA MOORE                     [REDACTED]            < 1.00%
AKORN, INC.           DAVID SCHAEFFER                  [REDACTED]            < 1.00%
AKORN, INC.           BARBARA ARMSTRONG                [REDACTED]            < 1.00%
AKORN, INC.           JOSE MONTEFALCON BUENASEDA       [REDACTED]            < 1.00%
AKORN, INC.           DIANE PRATT                      [REDACTED]            < 1.00%
AKORN, INC.           ANGELA DAWSON                    [REDACTED]            < 1.00%
AKORN, INC.           SYLVIA MARES MD                  [REDACTED]            < 1.00%
                      CHRISTIAN H MILLER CUST MARK J
AKORN, INC.           MILLER UGMA PA                   [REDACTED]            < 1.00%
                      JOSEPH KAUFMAN & ADELE
AKORN, INC.           KAUFMAN JT TEN                   [REDACTED]            < 1.00%
AKORN, INC.           MELANIE FURGAL                   [REDACTED]            < 1.00%
                      STEVEN ZANBRYSKI & JOSEPH
AKORN, INC.           ZANBRYSKI JT TEN                 [REDACTED]            < 1.00%
                      RICHARD A CONTI CUST BRIANA E
AKORN, INC.           CONTI UGMA NY                    [REDACTED]            < 1.00%
AKORN, INC.           KIRK V GIES                      [REDACTED]            < 1.00%
AKORN, INC.           CATHERINE ALLEN                  [REDACTED]            < 1.00%
AKORN, INC.           ELEANOR J DILL                   [REDACTED]            < 1.00%
AKORN, INC.           GEORGE T DILL                    [REDACTED]            < 1.00%
                      BOB KEPHART & BETTY KEPHART
AKORN, INC.           JT TEN                           [REDACTED]            < 1.00%
AKORN, INC.           CHANDU V SHANBHAG                [REDACTED]            < 1.00%
AKORN, INC.           SCARLET AUCOIN                   [REDACTED]            < 1.00%
                      H W MARCUM & WENDI S MARCUM
AKORN, INC.           JT TEN                           [REDACTED]            < 1.00%
                      THOMAS KERR & CATHERINE B
AKORN, INC.           KERR JT TEN                      [REDACTED]            < 1.00%
              Case 20-11177-KBO   Doc 1   Filed 05/20/20   Page 17 of 30




      Debtor                 Equity Holders            Address of     Percentage of
                                                      Equity Holder   Equity Held
AKORN, INC.           ALICE K FLETCHER                [REDACTED]            < 1.00%
AKORN, INC.           BRYAN M GOWLAND                 [REDACTED]            < 1.00%
                      CURRY E CLEMENT CUST
AKORN, INC.           BRADLEY J DAROCA UTMA LA        [REDACTED]            < 1.00%
AKORN, INC.           HELEN S HARTEL                  [REDACTED]            < 1.00%
                      WILLIAM CONRAD GWOSDZ &
AKORN, INC.           TRACI M GWOSDZ JT TEN           [REDACTED]            < 1.00%
AKORN, INC.           SUZAN J KNIGHTON                [REDACTED]            < 1.00%
                      JEFFREY R AKERS & SANDRA L
AKORN, INC.           AKERS JT TEN                    [REDACTED]            < 1.00%
                      MARK LINDHOLM & DAVE
AKORN, INC.           VONDRA JT TEN                   [REDACTED]            < 1.00%
AKORN, INC.           JUSTINE LASSAR                  [REDACTED]            < 1.00%
AKORN, INC.           ANTONIA LASSAR                  [REDACTED]            < 1.00%
AKORN, INC.           TRACY ATHERTON                  [REDACTED]            < 1.00%
                      CHRISTOPHER T HARDING &
AKORN, INC.           LAURA K HARDING JT TEN          [REDACTED]            < 1.00%
AKORN, INC.           SHIRLEY BOUDREAUX               [REDACTED]            < 1.00%
                      SHIRLEY BOUDREAUX
                      USUFRUCTUARY PAUL M
AKORN, INC.           BOUDREAUX NAKED OWNER           [REDACTED]            < 1.00%
                      GARY ALDEN WINSOR CUST ROSS
AKORN, INC.           EDWARD WINSOR UTMA MA           [REDACTED]            < 1.00%
AKORN, INC.           MILGHEN ORTIZ MC MAHAN          [REDACTED]            < 1.00%
AKORN, INC.           AMY V LADNER                    [REDACTED]            < 1.00%
AKORN, INC.           CARLA SUE PEAVLER               [REDACTED]            < 1.00%
AKORN, INC.           CAROL A LAWRENCE                [REDACTED]            < 1.00%
AKORN, INC.           MARTHA B LAWRENCE               [REDACTED]            < 1.00%
AKORN, INC.           HOWARD G TEICH                  [REDACTED]            < 1.00%
AKORN, INC.           THOMAS P LITTLE                 [REDACTED]            < 1.00%
AKORN, INC.           JENNIFER S WHITMER              [REDACTED]            < 1.00%
AKORN, INC.           SHEILA MARIE DOOLIN             [REDACTED]            < 1.00%
AKORN, INC.           GWEN ESTLOW                     [REDACTED]            < 1.00%
                      JOHN L DE LA HOUSSAYE CUST
                      MARIE T DE LA HOUSSAYE UNDER
AKORN, INC.           UGMA LA                         [REDACTED]            < 1.00%
                      JACQUELINE R CERISE CUST
                      JONATHAN B CERISE A MINOR
AKORN, INC.           UGMA LA                         [REDACTED]            < 1.00%
                      JOHN L DE LA HOUSSAYE CUST
                      PHILIPPEA DE LA HOUSSAYE
AKORN, INC.           UNDER UGMA LA                   [REDACTED]            < 1.00%
                      ANDRE SCHAN & CARLA SCHAN JT
AKORN, INC.           TEN                             [REDACTED]            < 1.00%
AKORN, INC.           RICK R VINCENT                  [REDACTED]            < 1.00%
AKORN, INC.           LILLIAN F MALONEY               [REDACTED]            < 1.00%
AKORN, INC.           TERRI J GAINES                  [REDACTED]            < 1.00%
AKORN, INC.           LOAYNE K BROWN                  [REDACTED]            < 1.00%
AKORN, INC.           JANET R FULK                    [REDACTED]            < 1.00%
AKORN, INC.           JOHN SWARTZ                     [REDACTED]            < 1.00%
                      RONALD RADKE & JUDY RADKE JT
AKORN, INC.           TEN                             [REDACTED]            < 1.00%
              Case 20-11177-KBO   Doc 1   Filed 05/20/20   Page 18 of 30




      Debtor                 Equity Holders            Address of     Percentage of
                                                      Equity Holder   Equity Held
AKORN, INC.           MARILYN C CUDJOE                [REDACTED]            < 1.00%
AKORN, INC.           LESLIE ROBINSON                 [REDACTED]            < 1.00%
AKORN, INC.           DONNA CLELAND                   [REDACTED]            < 1.00%
AKORN, INC.           REX E POE                       [REDACTED]            < 1.00%
                      LYNN NUNEZ CUST THOMAS J
AKORN, INC.           REVERE 3RD                      [REDACTED]            < 1.00%
AKORN, INC.           SONIA HORAN PERRONE             [REDACTED]            < 1.00%
AKORN, INC.           ANDREA WOODRUFF                 [REDACTED]            < 1.00%
AKORN, INC.           MARY DAVIS                      [REDACTED]            < 1.00%
AKORN, INC.           KELLY RALPH                     [REDACTED]            < 1.00%
AKORN, INC.           GABRIELLE E GRAY                [REDACTED]            < 1.00%
AKORN, INC.           KATHLEEN BRANLEY                [REDACTED]            < 1.00%
                      RICHARD A CONTI CUST OLIVIA
AKORN, INC.           ROSE CONTI UTMA NJ              [REDACTED]            < 1.00%
AKORN, INC.           LINDA SMITH                     [REDACTED]            < 1.00%
AKORN, INC.           LAURIE LEE G FOLSE              [REDACTED]            < 1.00%
AKORN, INC.           MICHELE SZYMANKOWSKI            [REDACTED]            < 1.00%
AKORN, INC.           TAMA GEDDES                     [REDACTED]            < 1.00%
AKORN, INC.           KATHIE SMITH                    [REDACTED]            < 1.00%
AKORN, INC.           KATHIE SMITH                    [REDACTED]            < 1.00%
AKORN, INC.           ROBERT L MENARD JR              [REDACTED]            < 1.00%
AKORN, INC.           MARGARET SUMPTER                [REDACTED]            < 1.00%
AKORN, INC.           GLENDA SPENCER FROST            [REDACTED]            < 1.00%
                      RONALD R RADKE CUST HEATH R
AKORN, INC.           RADKE UTMA FL                   [REDACTED]            < 1.00%
                      HEATHER A RADKE & RONALD R
AKORN, INC.           RADKE JT TEN                    [REDACTED]            < 1.00%
AKORN, INC.           ELLIOT J BUDNICK                [REDACTED]            < 1.00%
AKORN, INC.           JAMES ANGLE IV                  [REDACTED]            < 1.00%
AKORN, INC.           NANCY HERNANDEZ                 [REDACTED]            < 1.00%
AKORN, INC.           MELISSA HELM                    [REDACTED]            < 1.00%
AKORN, INC.           MARLENE M SOLACK                [REDACTED]            < 1.00%
AKORN, INC.           JANET FULK                      [REDACTED]            < 1.00%
                      MICHAEL MCGAHEE & JOHN
AKORN, INC.           COBERN JT TEN                   [REDACTED]            < 1.00%
AKORN, INC.           BARRY D LEBLANC                 [REDACTED]            < 1.00%
             Case 20-11177-KBO         Doc 1    Filed 05/20/20    Page 19 of 30




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                )
 In re:                                         )   Chapter 11
                                                )
 AKORN, INC.,                                   )   Case No. 20-______ (___)
                                                )
                       Debtor.                  )
                                                )

                        CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                       Approximate Percentage of Shares Held

 BLACKROCK, INC.                                                                        12.50%
                   Case 20-11177-KBO                      Doc 1      Filed 05/20/20             Page 20 of 30



    Fill in this information to identify the case and this filing:

   Debtor Name          Akorn, Inc.

   United States Bankruptcy Court for the:                                         District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual’s
position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
          of the partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the
          information is true and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
            Insiders (Official Form 204)
      ☒     Other document that requires a declaration: List of Equity Security Holders and Corporate Ownership
            Statement

    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       05/20/2020                                /s/ Joseph Bonaccorsi
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Joseph Bonaccorsi
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202               Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 20-11177-KBO         Doc 1     Filed 05/20/20     Page 21 of 30




                        OMNIBUS SECRETARY’S CERTIFICATE

                                         May 20, 2020

I, Joseph Bonaccorsi, the undersigned officer, as applicable, of each of the entities listed on
Schedule 1 (each a “Company” and collectively, the “Companies”), do hereby certify the
following:

       1.     I am the duly qualified and appointed Secretary of each Company.

       2.     Attached hereto as Exhibit A is a true, correct, and complete copy of the resolutions
              (the “Resolutions”) duly adopted by the board of directors or the sole member, as
              applicable, of each Company acting pursuant to each Company’s articles of
              incorporation, bylaws, shareholder agreement, limited liability company
              agreement, operating agreement, or similar governing document, as applicable (in
              each case as amended or amended and restated) (collectively, the “Governing
              Documents”).

       3.     The Resolutions are not inconsistent with the Governing Documents.

       4.     The Resolutions have not been amended, modified, repealed, or rescinded since
              adopted, and are in full force and effect on and as of the date hereof.


                                    [Signature page follows]
             Case 20-11177-KBO        Doc 1    Filed 05/20/20    Page 22 of 30




IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date first written
above.
                                          By:
                                          Name: Joseph Bonaccorsi
                                          Title:   Secretary of each Company
Case 20-11177-KBO   Doc 1   Filed 05/20/20   Page 23 of 30




                      Exhibit A




                            3
              Case 20-11177-KBO          Doc 1     Filed 05/20/20      Page 24 of 30




                              OMNIBUS FILING RESOLUTION


                                     Dated as of May 20, 2020

After due deliberation, all of the members of the board of directors or the sole member, as
applicable (each, a “Governing Body”), of the applicable entity set forth on Schedule 1 attached
hereto (each, a “Company,” and, collectively, the “Companies”), hereby take the following actions
and adopt the following resolutions (these “Resolutions”) pursuant to the articles of incorporation,
bylaws, shareholder agreement, limited liability company agreement, operating agreement, or
similar governing document, as applicable (in each case as amended or amended and restated), of
each Company and the laws of the state of formation of each Company as set forth next to each
Company’s name on Schedule 1:

WHEREAS, each Governing Body has considered presentations by the management and the
financial and legal advisors of each Company regarding the liabilities and liquidity of each
Company, the strategic alternatives available to it, and the effect of the foregoing on each
Company’s business;

WHEREAS, the Board has reviewed and considered presentations by the management and the
financial and legal advisors of the Companies regarding that certain restructuring support
agreement, dated as of May 20, 2020 (the “Restructuring Support Agreement”) and the advantages
and disadvantages to each Company of the transactions contemplated thereunder; and

WHEREAS, each Governing Body has had the opportunity to consult with the management and
the financial and legal advisors of the Companies and to fully consider each of the strategic
alternatives available to the Companies;

NOW, THEREFORE, BE IT,

RESTRUCTURING SUPPORT AGREEMENT

RESOLVED, that in the business judgment of the Board, it is desirable, and in the best interests
of each Company, its creditors, and other parties in interest, to enter into the Restructuring Support
Agreement, and that each Company’s performance of its obligations under the Restructuring
Support Agreement, and all exhibits, schedules, attachments, and ancillary documents or
agreements related thereto, hereby is, in all respects approved.

CHAPTER 11 FILING

RESOLVED, that in the business judgment of each Governing Body, it is desirable and in the
best interests of each Company (including a consideration of its creditors and other parties in
interest) that each Company shall be, and hereby is, in all respects, authorized to file, or cause to
be filed, a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11
of title 11 of the United States Code (the “Bankruptcy Code”) in the bankruptcy court for the
District of Delaware (the “Bankruptcy Court”) and any other petition for relief or recognition or
other order that may be desirable under applicable law in the United States.


                                                  4
              Case 20-11177-KBO          Doc 1     Filed 05/20/20      Page 25 of 30




RESOLVED, that any of the Chief Executive Officer, Chief Financial Officer, any Executive
Vice President, General Counsel, and Secretary or any other duly appointed officer of each
Company (collectively, the “Authorized Signatories”), acting alone or with one or more other
Authorized Signatories be, and they hereby are, authorized, empowered, and directed to execute
and file on behalf of each Company all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all action that they deem necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of
each Company’s business.

RETENTION OF PROFESSIONALS

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “K&E”) as general bankruptcy counsel to represent and assist each Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Kirkland.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Richards, Layton & Finger, P.A. (“Richards Layton”) as local
bankruptcy counsel to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
obligations, including filing any motions, objections, replies, applications, or pleadings; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of
Richards Layton.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of AlixPartners, LLP (“Alix”) as restructuring advisor to each
Company to represent and assist each Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Company’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Alix.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of PJT Partners LP (“PJT”), as financial advisor and investment banker
to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance each Company’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of PJT.


                                                  5
              Case 20-11177-KBO          Doc 1     Filed 05/20/20     Page 26 of 30




RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Grant Thornton LLP (“Grant Thornton”), as tax advisor to represent
and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance each Company’s rights and obligations; and in connection therewith,
each of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Grant Thornton

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Kurtzman Carson Consultants LLC (“KCC”) as notice and claims
agent to represent and assist each Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance each Company’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed appropriate applications for authority to retain the services of KCC.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist each Company in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a
view to the successful prosecution of such case.

CASH COLLATERAL, DEBTOR-IN-POSSESSION FINANCING, AND ADEQUATE
PROTECTION

RESOLVED, that each Company will obtain benefits, which are necessary and convenient to the
conduct, promotion and attainment of the business of such Company, from (a) the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition term lenders (the “Term Loan
Lenders”) under the term loan agreement, dated as of April 17, 2014 (as the same shall have been
amended, supplemented, or otherwise supplemented from time to time, including by that certain
Standstill Agreement and First Amendment to Loan Agreement, that certain First Amendment to
Standstill Agreement and Second Amendment to Loan Agreement, and that certain Second
Amendment to Standstill Agreement and Third Amendment to Loan Agreement, the “Term Loan
Credit Agreement”), by and among Akorn, Inc. and certain of its subsidiaries, as borrowers, the
Term Loan Lenders party thereto, and Wilmington Savings Fund Society, FSB, in its capacity as
successor administrative agent (together with the Term Loan Lenders, the “Secured Parties”), and
(b) the incurrence of debtor-in-possession financing obligations by entering into that certain Senior

                                                 6
              Case 20-11177-KBO          Doc 1    Filed 05/20/20     Page 27 of 30




Secured Super-Priority Term Loan Debtor-In-Possession Loan Agreement (the “Loan
Agreement”), to be dated on or about May 20, 2020 (the “DIP Financing”).

RESOLVED, that in order to use and obtain the benefits of the DIP Financing and Cash Collateral,
and in accordance with section 363 of the Bankruptcy Code, the Companies will provide certain
adequate protection to the Secured Parties (the “Adequate Protection Obligations”), as documented
in a proposed order in interim and final form (the “DIP Order”) and submitted for approval to the
Bankruptcy Court.

RESOLVED, that the form, terms and provisions of the Loan Agreement be, and hereby are, in
all respects approved.

RESOLVED, that the form, terms, and provisions of the DIP Order to which the Companies are
or will be subject, and the actions and transactions contemplated thereby be, and hereby are
authorized, adopted, and approved, and each of the Authorized Signatories of the Companies be,
and hereby are, authorized and empowered, in the name of and on behalf of each Company, to take
such actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform,
and cause the performance of, the DIP Order and the Loan Agreement, and such other agreements,
certificates, instruments, receipts, petitions, motions, or other papers or documents to which each
Company is or will be a party, including, but not limited to, any security and pledge agreement or
guaranty agreement (collectively with the DIP Order and the Loan Agreement, the “DIP
Documents”), incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, in the form or substantially in the form thereof submitted to the Board, with such
changes, additions, and modifications thereto as the officers of each Company executing the same
shall approve, such approval to be conclusively evidenced by such officers’ execution and delivery
thereof.

RESOLVED, that each Company, as debtor and debtor in possession under the Bankruptcy Code
be, and hereby is, authorized to incur the Adequate Protection Obligations and to undertake any
and all related transactions on substantially the same terms as contemplated under the
DIP Documents (collectively, the “DIP Transactions”), including the guaranty of the obligations
thereunder and the granting of liens on substantially all of its assets to secure such obligations.

RESOLVED, that the Authorized Signatories of each Company be, and they hereby are,
authorized and directed, and each of them acting alone hereby is, authorized, directed, and
empowered in the name of, and on behalf of, each Company, as debtor and debtor in possession,
to take such actions as in their discretion is determined to be necessary, desirable, or appropriate
and execute the DIP Transactions, including delivery of: (a) the DIP Documents and such
agreements, certificates, instruments, fee letters, guaranties, notices, and any and all other
documents, including, without limitation, any amendments to any DIP Documents; (b) such other
agreements, instruments, certificates, notices, assignments, and documents as may be reasonably
requested by the agent under the DIP Financing (the “DIP Agent”); and (c) such forms of account
control agreements, lockbox agreements, landlord agreements, collateral access agreements,
warehouse waivers, other agreements with third parties relating to the Collateral (as defined in the
Loan Agreement), officer’s certificates, and compliance certificates as may be required by the DIP
Documents (clauses (a) through (c) of this paragraph, collectively, the “DIP Financing
Documents”).

                                                 7
              Case 20-11177-KBO         Doc 1     Filed 05/20/20    Page 28 of 30




RESOLVED, that each of the Authorized Signatories of each Company be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, each Company to file or to
authorize the DIP Agent to file any Uniform Commercial Code (the “UCC”) financing statements,
any other equivalent filings, any intellectual property filings and recordation, and any necessary
assignments for security or other documents in the name of the Company that the DIP Agent deems
necessary or appropriate to perfect any lien or security interest granted under the DIP Order,
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired,” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of the Company and such other filings in respect of
intellectual and other property of the Company, in each case as the DIP Agent may reasonably
request to perfect the security interests of the DIP Agent under the DIP Order.

RESOLVED, that each of the Authorized Signatories of each Company be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, each Company to take all
such further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the DIP Transactions and all fees and expenses incurred by
or on behalf of such Company in connection with the foregoing resolutions, in accordance with
the terms of the DIP Financing Documents, which shall in their sole judgment be necessary, proper,
or advisable to perform such Company’s obligations under or in connection with the DIP Order or
any of the other DIP Financing Documents and the transactions contemplated therein and to carry
out fully the intent of the foregoing resolutions.

ENTRY INTO STALKING HORSE ASSET PURCHASE AGREEMENT

RESOLVED, that the Company is authorized to enter into that certain asset purchase agreement
(including all exhibits and schedules related thereto, the “Stalking Horse APA”) with certain Term
Loan Lenders under the Term Loan Credit Agreement (the “Ad Hoc Group”) for the sale of the
Companies and to undertake any and all related transactions contemplated thereby, including the
bid protections, on the terms contained therein or on such other terms and conditions as the
Authorized Signatories, or any of them in their, his, or her sole discretion, determine to be
necessary, appropriate, or desirable.

RESOLVED, that each of the Authorized Signatories of each Company be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, each Company to execute,
on behalf of the Companies, the Stalking Horse APA and to execute and file, on behalf of the
Companies, the motion (the “Sale Motion” and bidding procedures thereunder,
the “Bidding Procedures”) with the Bankruptcy Court.

RESOLVED, that each of the Authorized Signatories of each Company be, and hereby are,
authorized, directed, and empowered in the name of, and on behalf of, each company to conduct
the auction approved by the Bankruptcy Court pursuant to the Sale Motion and Bidding Procedures
(the “Auction”) and to negotiate, for and on behalf of the Companies, such agreements, documents,




                                                8
              Case 20-11177-KBO          Doc 1    Filed 05/20/20     Page 29 of 30




assignments, and instruments as may be necessary, appropriate, or desirable in connection with
the Sale to Ad Hoc Group or such other successful bidder at the Auction.

GENERAL

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, individually authorized and empowered, in the name of and on behalf of each
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Signatory’s judgment, shall be necessary, advisable, convenient, or desirable in order
to fully carry out the intent and accomplish the purposes of the Resolutions adopted herein.

RESOLVED, that each Governing Body of each Company has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of each Company, or hereby waive any right to have
received such notice.

RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have
been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
each Company with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of each Governing Body.

RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of
each Company with respect to the transactions contemplated by these resolutions hereunder, as
such Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s
reasonable business judgment as may be necessary or convenient to effectuate the purposes of the
transactions contemplated herein.



                                               ***




                                                 9
              Case 20-11177-KBO     Doc 1   Filed 05/20/20   Page 30 of 30




                                      Schedule 1

                                Company                               Jurisdiction
Akorn, Inc.                                                         Louisiana

10 Edison Street LLC                                                Delaware

13 Edison Street LLC                                                Delaware

Advanced Vision Research, Inc.                                      Delaware

Akorn (New Jersey), Inc.                                            Illinois

Akorn Animal Health, Inc.                                           Delaware

Akorn Ophthalmics, Inc.                                             Delaware

Akorn Sales, Inc.                                                   Delaware

Clover Pharmaceuticals Corp.                                        Delaware

Covenant Pharma, Inc.                                               Georgia

Hi-Tech Pharmacal Co., Inc.                                         Delaware

Inspire Pharmaceuticals, Inc.                                       Delaware

Oak Pharmaceuticals, Inc.                                           Delaware

Olta Pharmaceuticals Corp.                                          Delaware

VersaPharm Incorporated                                             Georgia

VPI Holdings Corp.                                                  Delaware

VPI Holdings Sub, LLC                                               Delaware
